                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF MISSOURI
                                   WESTERN DIVISION

UNITED STATES OF AMERICA,                         )
                                                  )
         Plaintiff,                               )
                                                  )
   v.                                             )   Criminal Action No.
                                                  )   07-00255-05-CR-W-ODS
CHRISTOPHER D. WAGGONER,                          )
                                                  )
         Defendant.                               )

                            REPORT AND RECOMMENDATION

        On November 7, 2007, counsel for Defendant filed a motion pursuant to 18 U.S.C. § 4241

for a judicial determination of Defendant’s mental competency (Doc. No. 44). Defendant was

examined by Dr. John H. Wisner, M.D., who prepared a report dated December 19, 2007. In the

report, Dr. Wisner stated Defendant “does suffer from a mental disease or defect, and is incompetent

to the extent that he is unable to fully understand and more important to reliably use his

understanding of the nature and consequences of the proceeding against him, and is likewise unable

to assist properly in his defense.” Dr. Wisner further opined that Defendant “should be re-evaluated

after treatment in the expectation that his paranoia and poor concentration will recede, allowing him

to proceed as a competent defendant.”

        On January 3, 2008, I held a competency hearing. Defendant was present, represented by

appointed counsel David Johnson. The government was represented by Charles Ambrose. During

the hearing, both parties stipulated to Dr. Wisner’s report (Tr. at 2). Neither party presented any

additional evidence.

        Based upon the uncontroverted evidence stipulated to by the parties in this case, I find that

Defendant is not competent to stand trial and to assist in his defense. Therefore, it is



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       RECOMMENDED that the court, after making an independent review of the record and

applicable law, enter an order finding Defendant incompetent to stand trial and to assist in his

defense. It is further

       RECOMMENDED that the court commit Defendant to the custody of the Attorney General

for hospitalization and treatment pursuant to 18 U.S.C. § 4241(d).




                                                     /s/ Robert E. Larsen
                                                    ROBERT E. LARSEN
                                                    United States Magistrate Judge

Kansas City, Missouri
January 7, 2008




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